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Case 2107-ev-00523-LMA~KWR Doeument 193 Fiied 08/1 1/2008 Page 1 of 4

UNITED STATES ])ISTRICT COURT

FOR 'I`HE EASTERN DISTRIC'I` OF LCUISIANA

J{)HN LaFORGE, "‘ CIVIL ACTI()N NO. 07~523
PLAINTIFF "'
VS. "‘ SECTION “I” MAG. 4

k
ECC OPERATING SERVICES, INC. AN`D °`° JUDGE LANCE M. AFRICK
ENVIRGNMEN'I`AL CHEMICAL "‘
CORPORATION, ”‘ MAGISTRATE KAREN WELLS ROBY
])EFENDANT * -

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WITNESS AND EXHIBIT LIST

NOW COMES, NEWPARK MATS AND INTEGRA'I`BD SERVICES, LLC (a Texas
limited liability company domiciled in '£`exas), as successor in interest to S<)Ioeo 'I`X, LLC, es
successor by merger to Sok)c<), LLC (hereinafter referred to as “So}eco”) through undersigned
eounsel, who Submits herewith the following witness and exhibit list

A. Witnesses
The following Wimesses may be called by Soloco:

1. Corey Fontenot;

S`~>

§immy Thomason;

M

. Representative{s) ofNewparI€/Solocog

4>~

. Clarenee R. Duplessis

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5. .lesse Con'y;

6. Mark Cyr and/or a representative of Coastwide;

7. Glenn SWeatt end/or other representatives of ECC/ECCOS;

8. Chr.istopher Blankenfeld and/or other representatives of Envirocon.;

9. Charies Me.t'quet"te;

10. Christopher Rho<ies;

11. John Benj amin Esnaxd, 31'.;

12. Douglas B. Robert;

12. Representatives of any other contractor involved with the Bmpire Site and/or the

loading or unloading of plaintiff s vehieie;

13. A Representative of the U.S. Army Corps of Engineers;

14. A Representative of the Plaquemines Parish Government;

15. A Repl'esentative of Haxci Rook Constmetion, LLC;

16. 'A Repreeentative of La. Demolition, LLC;

i’?'. A Representative of the State of Louisiana;

18. Dr. Ro`oert Applebaum;

19. Dr. Larry Stolces,

20. Dr. Ken.neth Boudreaux;

Zi. Any expert witness regarding accident reeonstruction; trucking trucks; landfill
operations; and/or the Soioco mats to be identified;

22. Any witness needed to authenticate exhibits/documents andfor for impeachment
purposes;

23. Any wimess listed or called by any other party; and

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24.Any witness identified dining the course of discovery
25. Newpark/Soloco reserves its right to supplement and amend this list of witnesses

B. Exhibits - Defendent identities the following documents Whioh it may use in support of
its case.

l. Any and all incident or accident reports and documents attached thereto, including
the handwritten statements of Witnesses;

2. Daily Work records, time ticl<ets, load tickets for the Bmpire Site;

3. Any and ali contracts, contract documents scope of work doctnnents, task orders,
change orders, in effect relating to Worl< performed at the Ernpire Site, including
construction of the site;

4. Any and all site management plans for the Ernpire Pit;

5. A'ny and all activity hazard analysis documents;

6. RFPs for the debris management for Plaqnernines Parisli/Hnrrlcane Katrina ciean
1195

7. QC/Daiiy Repcits and any and all routine reporting performed at the Empire Pit;

8. Any and ali surveys, engineering reports, soil reports performed by Providence
and!or any other entity regarding the Empire Site at any time;

9. Any and all documents produced by any party to this litigation in discovery
and/or requested in discovery put not yet produced to date or requested in subsequent
discovery;

10. Deposition transcripts and exhibits tirereto, specifically all exhibits produced and
attached as exhibits to the ECC/ECCOS and Envirocon 30(b)(6) depositions

li. Any and all demonstrative evidence that may be used at triai, incinding charts
graphs, and the like;

12. Any and all product information regarding the Dura~Base mats and any and
documents and correspondence regarding NeWparl</Soloco’s rental agreement;

13. l\/iedical records, diagnostic studies, office notes, progress notes, etc., regarding
plaintifi`;

14. Any employment records from plaintiffs previous einplcyers;

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l5. Piaintifi”s federal and state income tax records;
16. Plaintiff’s Social Security Administration earnings records;

17. Any and all photographs of the Einpire Pit, the site ct` the Ernpire Pit, the vehicles
involved in the incident in suit;

18. Any and all plans and specifications for the design of the Brnpire Site;
i9. Any exhibit listed or used by any other party;

20. Canai and National Union’s insurance claiIn, investigation and
underwriting tiles;

21. Newpark/Soloco specifically reserves ali rights to supplement and amend
this may cali exhibit list

Respectt`ully submitted
REICI~I, ALBUM & PLUNKETT, LLC

/s[ ROBERT S. REICH
ROBERT S. REICH, ESQ. {#l 1l63)

MICHELLE L. MARAIST (#21739)

Two Lakeway, Suite 1000

3850 l\l. Causeway Blvd.

Metairie, louisiana 70002

'i`ei: (504) 830~3999

Fax: (504) 830-3950

e~niail:rreich@rapllclaw.coin;
mmaraist@rapllclaw.com

Attomeys for Newpark Mats And Integmted
Services, LLC (a Taxas limited liability company
domiciled in Texas), as successor in interest to

Soloco TX, LLC, as successor by merger to Soloco,
LLC

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a copy of the above and foregoing has been served upon all
counsel of record by hand delivery, electronic delivery, facsimile transmission5 or by placing
sarno in the U. S. Mail, postage prepaid, this l lth day of Augnst, 2008.

!S/ ROBERT S. RElCl-i

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UNITEI) STATES ¥)IS'I`RIC'I` CO'UR’I'

EASTERN DISTRICT OF LOUISIANA

JoHN LaFoRGE, ='¢ crer ACTIoN No. 07-523
PLAINTIFF *

‘k
vs. »'= SECTION “1” MAG. 4
ECC 0PERATING SF,RVICES, INC. ANJ) ='= JUDGE LANCE M. AFRICK
ENVIRONMENTAL cHEMICAL »'<
coRPoRATIoN, »'¢ MAGISTRATE KAREN WELLS RoBY
DEFENI)ANT *

§c‘a’c~}cv*c='¢‘:‘c*.»’c:f¢§:v’c$r:‘¢::?c:‘c:’c:Fc:‘c=%>’c:’¢§:'.~’c:’cn¥c'.¢c~?civic~.&-§c2’:~A~~§:v’n'n'c='¢4c~k%:§c'a"c>‘r'icdcidc'&'kic:’ckicki::’c§c¢r%o'n’e=¥§c§n%’¢§w'w‘ck€c§cic?c*>':

SUPPLEMENTAL WITNESS AND EXHIBIT LIST

NOW COMES, NEWPARK MATS AND INTBGRATED SERVICES, LLC (a "i`exas
limited liability company domiciled in Texas), as Successor in interest to Solooo 'I`X, LLC, as
Su<:cessor by merger to Solooo, LLC (hereinafter refer?ed eo as “Newpark/Soloco”) through
undersigned counsel, v\lho gubmits herewith the following supplemental Witnoss and exhibit list:

Newpark/Soloco adopts and incorporates the Witnesses and exhibits it has previously
listed as if copied herein in extenso.

A. WIT'NESSES

In addition to the witnesses listed in the list filed by Newpark/Soloco on or about Aogust
ll, 2008, Newpark/Soloeo Subm'its it may call the following

l. S'cacy Ogle;

2. Katl'ly G'reen and/or one or more additional representalives of Amorisure
Insura.oce Company and/or any related insurance company or insurer that provided insurance to

plaintiff;

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3. Chad Cadwell;

4. A representative of Ca:nal fnsurance Company;

5. Jean Todd;

B. EXHIBITS

in addition to the exhibits listed in the list filed by Newpark/Soloco on or about August
il, 2008, NeWpari<;/Soloco submits it may introduce the following

11 Deposition transcript of Jean Todd and the exhibits to her deposition

Respectfully submitted
REICH, ALBUM & PLUNKETT, L.L.C.

/s/ Michelle L. Maraist

 

ROBERT S. REICH (#1!163)

MICHELLE L. MARAIST (#21’739)

'I‘Wc il.alceway Ccnter, Suite IO€)O

3850 North Causeway Bouievard

Metairie, Louisiana 70002

'i`el: (504) 830»3999

Fax: (5€)4) 839-3950

Counselfor thirdparty defendant, Newpark Maz's

and Inzegmted Services, LLC
CERTIFICATE OF SERVICE
f HEREBY CERTIFY that a copy of the above and foregoing has been served upon ali

counsel of record by hand delivery, electronic delivery, facsimile transmission, or by placing

same in the U. S. Maii, postage prepaid, this 29th day ofAugust, 2003

/s/ Michelle L. Maraist

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UNITEI) STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

JOHN LaFORGE,

* CIVIL ACTION NO. 07~523
PLAINTIFF "‘

*
VS. * SECTION “I” MAG. 4

k .
ECC OPERATING SERVICES, INC. ANB * JUDGE LANCE M. AFRICK
ENVIRONMENTAL CHEMICAL *
CORPORATION, * MAGISTRATE KAREN WELLS ROBY
DEFENI)ANT *

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SECOND SUPPLEMENTAL WITNESS AND EXHIBIT LIST

NOW CCMES, NEWPARK i\/IA'I`S AND INTEGRATED SERVICES, LLC (a Texas
limited liability company domiciled in 'l`e><as), as successor in interest to Soioco "l`X, LLC, as
successor by merger to Soloco, LLC (hereineiter referred to as “Newpari<fSoioco”) through
undersigned counsel, Who submits herewith the following second suppiementai Witness and
exhibit list

Newpark/Soioco adopts and incorporates the Witnesses and exhibits it has previously
listed as if copied herein in extenso.'

A. WITNESSBS

In addition to the witnesses listed in the originai and First Supplementel Witness and
Exhibit List list filed by Newpark/Soloco, Newparl<;/Soloco submits it may call the following

I. Newparl</Soloco representative Steven Peterson.

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Respectfully submitted
REICI~I, ALBUM & PLUNKETT, L.L.C.

/S! ROBERT S. REICH

 

R{)BERT S. R.EICH (#11163)

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Tei: (504) 830~3999

Fax: (504) 830~3950

Counselfor thirdparty defendant Newpark Mats
and Integrated Services, LLC

CERTIFICA'I‘E OF SERVICE
I HEREBY CERTIFY that a copy of the above and foregoing has been served upon all
counsel of record by hand delivery, electronic delivery, facsimile transmission, or by placing

same in the U. S. Mail, postage prepaid, this wm day of Decernber, 2008.

/s/ ROBERT S. REICH

 

